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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

   REALTEK SEMICONDUCTOR
   CORPORATION,

           Plaintiff,                                  C.A. No. 24-1235-UNA

   v.

   AVAGO TECHNOLOGIES
   INTERNATIONAL SALES PTE. LTD,
   BROADCOM CORP., and BROADCOM
   INC.,

           Defendants.


            [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION TO
        SET EXPEDITED BRIEFING SCHEDULE FOR ANTISUIT INJUNCTION

        Upon consideration of Plaintiff’s Motion to Remand the Case to the Court of Chancery of

 the State of Delaware or Alternatively to Set a Schedule for an Antisuit Injunction (“Motion”);

        IT IS HEREBY ORDERED that the Motion is GRANTED-IN-PART and the Court sets

 the following schedule for Realtek’s antisuit injunction.

    •   Fact and expert discovery related to motion – Completed by December 31, 2024.

            o If the parties are unable to reach agreement, they may ask the Court to set additional

                deadlines related to written discovery, expert disclosures, and depositions.

    •   Realtek’s opening brief – Due January 10, 2025

    •   Defendants’ response brief – Due January 24, 2025

    •   Realtek’s reply brief – Due January 31, 2025

    •   Hearing - ________ [February 7, 2025 requested]

        The Court will rule as promptly thereafter as possible, recognizing that, in the pending

 German litigation, the courts will decide whether to enter an injunction on February 20, 2024.
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      IT IS SO ORDERED this ___________ day of ________, 2024.




                                             United States District Judge




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